                                                                       Case 8:17-bk-10706-ES       Doc 1114 Filed 11/19/21 Entered 11/19/21 09:49:44               Desc
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                                                                       1   Richard A. Pachulski (CA Bar No. 90073)
                                                                           PACHULSKI STANG ZIEHL & JONES LLP
                                                                       2   10100 Santa Monica Blvd., 13th Floor
                                                                           Los Angeles, CA 90067
                                                                       3   Telephone: (310) 277-6910
                                                                           Facsimile: (310) 201-0760
                                                                       4   E-mail: rpachulski@pszjlaw.com

                                                                       5
                                                                           Former Special Reorganization Counsel for
                                                                       6   John Jean Bral, Reorganized Debtor

                                                                       7

                                                                       8                             UNITED STATES BANKRUPTCY COURT

                                                                       9                CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISION

                                                                      10

                                                                      11   In re                                            Case No. 8:17-bk-10706-ES
P ACHULSKI S TANG Z IEHL & J O NES LLP




                                                                      12   JOHN JEAN BRAL,                                  Chapter 11
                                         LOS ANGELES, C ALIFO R NIA




                                                                      13                  Reorganized Debtor.               SUPPLEMENT TO THE POST
                                            ATTOR NE YS A T LAW




                                                                                                                            CONFIRMATION FINAL APPLICATION
                                                                      14                                                    FOR COMPENSATION AND
                                                                                                                            REIMBURSEMENT OF EXPENSES OF
                                                                      15                                                    PACHULSKI STANG ZIEHL & JONES
                                                                                                                            LLP AS SPECIAL REORGANIZATION
                                                                      16                                                    COUNSEL FOR THE DEBTOR FOR THE
                                                                                                                            PERIOD AUGUST 1, 2019 THROUGH
                                                                      17                                                    JANUARY 21, 2021; DECLARATION OF
                                                                                                                            RICHARD A. PACHULSKI
                                                                      18
                                                                                                                            (Relates to Docket No. 1084)
                                                                      19
                                                                                                                            Hearing Date and Time:
                                                                      20
                                                                                                                            Date:     November 9, 2021
                                                                      21                                                    Time:     10:30 a.m.
                                                                                                                            Place:    ZoomGov
                                                                      22

                                                                      23

                                                                      24
                                                                                   Pachulski Stang Ziehl & Jones LLP (“PSZJ” or the “Firm”), former special reorganization
                                                                      25
                                                                           counsel to Jon J. Bral (the “Debtor”), hereby submits this Supplement (the “Supplement”) to the
                                                                      26
                                                                           Post Confirmation Final Application for Compensation and Reimbursement of Expenses of
                                                                      27
                                                                           Pachulski Stang Ziehl & Jones LLP as Special Reorganization Counsel for the Debtor for the Period
                                                                      28
                                                                       Case 8:17-bk-10706-ES               Doc 1114 Filed 11/19/21 Entered 11/19/21 09:49:44                           Desc
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                                                                       1   August 1, 2019 through January 21, 2021 (the “Post Confirmation Fee Application” of

                                                                       2   “Application”)1 filed on October 19, 2021 as docket no. 1084.

                                                                       3              This Supplement adopts and incorporates all statements made in the Post Confirmation Fee

                                                                       4   Application, as if set forth fully herein.

                                                                       5              This Supplement is submitted pursuant to 11 U.S.C. § 330 for the final allowance and

                                                                       6   payment to PSZJ in the total amount of $191,930.74 which represents: (a) professional fees in the

                                                                       7   amount of $190,134.00 and expenses incurred in the amount of $1,796.74 for the period from

                                                                       8   August 1, 2019 through January 21, 2021 (the “Post Confirmation Period”); and (b) $15,000 in

                                                                       9   estimated fees through the date of hearing on this Application, related to the preparation, filing and

                                                                      10   notice of the Application and any order thereon, and appearance at any hearing on this matter (the

                                                                      11   “Estimated Fees”) 2.
P ACHULSKI S TANG Z IEHL & J O NES LLP




                                                                      12
                                                                                                                                    TABLE I
                                         LOS ANGELES, C ALIFO R NIA




                                                                      13
                                            ATTOR NE YS A T LAW




                                                                                                                              FEES AND EXPENSES
                                                                                                                             Amount Requested                Amount Approved            Total App’d
                                                                      14
                                                                               Fee Period               Dates                      Fees     Expenses               Fees    Expenses
                                                                      15
                                                                               First and Final Fee         1/1/2018-
                                                                      16       Application 3               7/31/2019     $1,594,301.50     $31,846.35    $1,449,411.44    $31,846.35    $1,481,357.79

                                                                      17

                                                                      18       Post-Confirmation            8/1/2019-
                                                                               Period                         1/21/21      $190,134.00      $1,796.74
                                                                      19
                                                                               Estimated Fees for
                                                                               preparing the Post
                                                                      20       Confirmation Final
                                                                               Fee Application                              $15,000.00          $0.00
                                                                      21
                                                                                                            8/1/2019-
                                                                      22                        Total         1/21/21      $205,134.00      $1,796.74
                                                                      23
                                                                           1
                                                                      24        Capitalized terms not defined herein shall have the meanings used in the Application.
                                                                           2
                                                                              As set forth in the attached invoices PSZJ actually incurred more than the $15,000 estimated fees related to work
                                                                      25   regarding the Application. However PSZJ is only seeking allowance and payment of $15,000 related to such work
                                                                           regarding the Application.
                                                                      26
                                                                           3
                                                                             Pursuant to the Order on Application for Payment of Final Fees and/or Expenses (the “Final Fee Order”) entered on
                                                                      27   December 12, 2019 [Docket. No. 833], the Court awarded PSZJ total fees and expenses in the amount of $1,481,357.79.
                                                                           The Bankruptcy Court’s order was affirmed by the United States District Court for the Central District of California,
                                                                      28   Southern Division, by order dated December 1, 2020 [doc. 953].
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                                                                       1            In support of the Estimated Fees, PSZJ hereby attaches as Exhibit A the Firm’s detailed time

                                                                       2   records during the Post Confirmation Period related to the preparation, filing and notice of the

                                                                       3   Application and any order thereon, and any appearance at a hearing on this matter 4.

                                                                       4            Compensation of Professionals

                                                                       5            Time billed to this category relates to issues regarding fees of the Firm.

                                                                       6            During the Post Confirmation Period, the Firm, among other things: (1) reviewed and

                                                                       7   analyzed pleadings regarding fee application scheduling and deadlines; (2) reviewed and analyzed

                                                                       8   post-confirmation invoices relating to preparation of the Post Confirmation Fee Application; (3)

                                                                       9   drafted, and reviewed and revised, the Post Confirmation Fee Application; (4) performed work

                                                                      10   regarding fee application exhibits; (5) performed work regarding notice and filing of the Post

                                                                      11   Confirmation Fee Application; (6) performed work regarding an order on such fee application; and
P ACHULSKI S TANG Z IEHL & J O NES LLP




                                                                      12   (7) corresponded and conferred regarding compensation of professionals issues.
                                         LOS ANGELES, C ALIFO R NIA




                                                                      13            Total Hours 43.30/Total Fees $19,748.00
                                            ATTOR NE YS A T LAW




                                                                      14            For the reasons set forth above and in the Post Confirmation Fee Application, the Firm

                                                                      15   respectfully requests that this Court enter an order:

                                                                      16            1.        Allowing on a final basis compensation to the Firm for services rendered in the

                                                                      17   amount of $190,134.00 and reimbursement of expenses incurred in the amount of $1,796.74, for a

                                                                      18   total amount of $191,930.74 for the Post Confirmation Period of August 1, 2019, through January

                                                                      19   21, 2021;

                                                                      20            2.        Allowing on a final basis compensation to the Firm for services rendered in the

                                                                      21   additional amount of $15,000.00 through the date of hearing on this Application (or through

                                                                      22   November 9, 2021 if no hearing is held on this matter), related to the preparation, filing, and notice

                                                                      23   of the Application and any appearance at a hearing on this matter; and

                                                                      24            3.        Authorizing and directing the Debtor or any successor to pay the Firm the unpaid

                                                                      25   amounts of all allowed fees and costs; and

                                                                      26

                                                                      27

                                                                      28
                                                                           4
                                                                               To date no hearing has been held on the Post Confirmation Fee Application.
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                                                                       1          4.        Granting such other and further relief as may be appropriate under the

                                                                       2   circumstances.

                                                                       3    Dated: November 19, 2021                PACHULSKI STANG ZIEHL & JONES LLP

                                                                       4
                                                                                                                    By:    /s/ Richard A. Pachulski
                                                                       5                                                   Richard A. Pachulski (CA Bar No. 90073)
                                                                       6                                                   Former Special Reorganization Counsel
                                                                                                                           for John Jean Bral, Reorganized Debtor
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P ACHULSKI S TANG Z IEHL & J O NES LLP




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                                         LOS ANGELES, C ALIFO R NIA




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                                            ATTOR NE YS A T LAW




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                                                                       1                           DECLARATION OF RICHARD A. PACHULSKI

                                                                       2          I, Richard A. Pachulski, declare as follows:

                                                                       3          1.      I am an attorney at law duly authorized to practice in the State of California and

                                                                       4   before this Court. I am a partner, in the law firm of Pachulski Stang Ziehl & Jones LLP, former

                                                                       5   special reorganization counsel to the Debtor.

                                                                       6          2.      I have personally reviewed the information contained in the Supplement, and the

                                                                       7   invoice attached to the Supplement for the Post Confirmation Period, and believe such information

                                                                       8   and invoice to be true and correct to the best of my knowledge, information and belief.

                                                                       9          I declare under penalty of perjury under the laws of the United States of America that the

                                                                      10   foregoing is true and correct.

                                                                      11          Executed this 19th day of November, 2021, at Los Angeles, California.
P ACHULSKI S TANG Z IEHL & J O NES LLP




                                                                      12
                                                                                                                                        /s/ Richard A. Pachulski
                                         LOS ANGELES, C ALIFO R NIA




                                                                      13
                                            ATTOR NE YS A T LAW




                                                                                                                                        Richard A. Pachulski
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                                                                       1

                                                                       2
                                                                                                          EXHIBIT A
                                                                                                   Detailed Time Records of the Firm
                                                                       3

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P ACHULSKI S TANG Z IEHL & J O NES LLP




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                                         LOS ANGELES, C ALIFO R NIA




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                                            ATTOR NE YS A T LAW




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                              Pachulski Stang Ziehl & Jones LLP


                                                                November 17, 2021
John J. Bral                                                    Invoice 128921
2601 Main Street ste. 9601                                      Client  10601
Irvine, CA 92614                                                Matter  00001
                                                                        WNL

RE: Chapter 11

 _______________________________________________________________________________________

          STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 11/17/2021
                 FEES                                            $19,748.00
                 TOTAL CURRENT CHARGES                           $19,748.00
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  Summary of Services by Professional
  ID        Name                              Title               Rate       Hours              Amount

 IDK        Kharasch, Ira D.                  Partner           1325.00       0.70          $927.50

 NPL        Lockwood, Nancy P. F.             Paralegal          250.00      30.10         $7,525.00

 RMP        Pachulski, Richard M.             Partner           1595.00       0.90         $1,435.50

 WLR        Ramseyer, William L.              Counsel            850.00      11.60         $9,860.00

                                                                            43.30          $19,748.00
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  Summary of Services by Task Code
  Task Code         Description                                        Hours                        Amount

 CP                 Compensation Prof. [B160]                           43.30                  $19,748.00

                                                                        43.30                  $19,748.00
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  Summary of Expenses
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                                                                                        Hours          Rate         Amount

  Compensation Prof. [B160]
 09/23/2021   NPL     CP        Email communications with J. O'Keefe regarding           0.20       250.00           $50.00
                                fee applications pursuant to effective date.

 09/23/2021   NPL     CP        Email communications with R. Pachulski regarding         0.40       250.00          $100.00
                                dates and deadlines associated with effective date
                                and firm fee application.

 09/23/2021   NPL     CP        Attention to dates and deadlines associate with fee      0.10       250.00           $25.00
                                applications for all professionals.

 09/23/2021   NPL     CP        Review PSZJ post confirmation invoices.                  0.40       250.00          $100.00

 09/23/2021   NPL     CP        Review order confirming plan and notice of               0.10       250.00           $25.00
                                effective date.

 09/24/2021   NPL     CP        Telephone call with J. O'Keefe regarding                 0.20       250.00           $50.00
                                professionals fee applications.

 09/28/2021   IDK     CP        Office conference and E-mails with R Pachulski, N        0.40      1325.00          $530.00
                                Lockwood re fee app and payment issues

 09/28/2021   RMP     CP        Review Bral bills.                                       0.90      1595.00      $1,435.50

 09/28/2021   NPL     CP        Email communications with J. Dulberg regarding           0.10       250.00           $25.00
                                PSZJ fee application through effective date.

 09/28/2021   NPL     CP        Email communications with W. Ramseyer regarding          0.10       250.00           $25.00
                                PSZJ fee application through effective date.

 09/28/2021   NPL     CP        Email communications with R. Pachulski regarding         0.30       250.00           $75.00
                                PSZJ fee application through effective date.

 09/28/2021   NPL     CP        Professional fee analysis for fees and costs incurred    2.50       250.00          $625.00
                                by PSZJ from date of confirmation through effective
                                date of the plan.

 09/28/2021   NPL     CP        Begin preparation of post confirmation fee               1.40       250.00          $350.00
                                application for PSZJ.

 09/29/2021   NPL     CP        Email communications with L. Gardiazabal                 0.30       250.00           $75.00
                                regarding pending and final invoices for PSZJ fee
                                application period.

 09/29/2021   NPL     CP        Continued preparation of PSZJ fee application from       2.20       250.00          $550.00
                                date of confirmation through effective date.

 09/29/2021   NPL     CP        Set up and begin preparation of exhibits to PSZJ fee     1.80       250.00          $450.00
                                application.

 09/30/2021   NPL     CP        Edits to PSZJ post confirmation fee application.         1.10       250.00          $275.00
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                                                                                     Hours          Rate         Amount

 10/01/2021   NPL     CP        Email communications with B. Anavim regarding         0.20       250.00           $50.00
                                dates and deadlines associated with PSZJ post
                                confirmation fee application.

 10/04/2021   NPL     CP        Continued preparation of PSZJ fee application and     3.80       250.00          $950.00
                                corresponding exhibits.

 10/05/2021   NPL     CP        Draft email to W. Ramseyer regarding notes and        0.50       250.00          $125.00
                                comments to PSZJ final fee application.

 10/05/2021   NPL     CP        Further edits to PSZJ final fee application.          0.80       250.00          $200.00

 10/07/2021   WLR     CP        Draft 2nd final fee application                       2.40       850.00      $2,040.00

 10/08/2021   WLR     CP        Draft 2nd final fee application                       2.00       850.00      $1,700.00

 10/10/2021   WLR     CP        Draft 2nd final fee application                       3.90       850.00      $3,315.00

 10/11/2021   NPL     CP        Email communications with W. Ramseyer regarding       0.10       250.00           $25.00
                                PSZJ post confirmation fee application.

 10/13/2021   WLR     CP        Prepare final fee application                         0.30       850.00          $255.00

 10/13/2021   WLR     CP        Review effective date notice                          0.20       850.00          $170.00

 10/13/2021   WLR     CP        Draft final fee application                           0.40       850.00          $340.00

 10/13/2021   WLR     CP        Review and revise post-confirmation final fee         1.50       850.00      $1,275.00
                                application

 10/13/2021   NPL     CP        Email communications with L. Gardiazabal and W.       0.10       250.00           $25.00
                                Ramseyer regarding final invoice for January 2021.

 10/13/2021   NPL     CP        Edits to PSZJ post confirmation fee application.      1.30       250.00          $325.00

 10/13/2021   NPL     CP        Conduct fee calculation analysis.                     0.60       250.00          $150.00

 10/13/2021   NPL     CP        Continued preparation of exhibits to PSZJ post        0.70       250.00          $175.00
                                confirmation fee application.

 10/13/2021   NPL     CP        Analysis of professional fees by task code.           0.60       250.00          $150.00

 10/14/2021   NPL     CP        Continued preparation of exhibits to post             3.20       250.00          $800.00
                                confirmation fee application for PSZJ.

 10/15/2021   IDK     CP        E-mails re Bral billing and fee apps                  0.30      1325.00          $397.50

 10/15/2021   NPL     CP        Further edits to PSZJ post confirmation fee           0.70       250.00          $175.00
                                application.

 10/15/2021   NPL     CP        Complete and compile exhibits to PSZJ post            1.80       250.00          $450.00
                                confirmation fee application.

 10/15/2021   NPL     CP        Draft email to R. Pachulski regarding PSZJ post       0.10       250.00           $25.00
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                                                                                        Hours          Rate         Amount
                                confirmation fee appliction.
 10/15/2021   NPL     CP        Email communication with L. Gauthier regarding           0.20       250.00           $50.00
                                PSZJ post confirmation fee application.

 10/16/2021   WLR     CP        Review and revise final fee application (.3), review     0.90       850.00          $765.00
                                exhibits (.3), correspondence to Nancy Lockwood re
                                changes (.3)

 10/18/2021   NPL     CP        Prepare comments of the reorganized debtor to PSZJ       0.30       250.00           $75.00
                                post confirmation fee application.

 10/18/2021   NPL     CP        Review emails from R. Pachulski regarding edits to       0.10       250.00           $25.00
                                PSZJ post confirmation final fee application.

 10/19/2021   NPL     CP        Draft email to J. Bral regarding PSZJ post               0.10       250.00           $25.00
                                confirmation final fee application.

 10/19/2021   NPL     CP        Email communications with L. Gauthier regarding          0.10       250.00           $25.00
                                PSZJ post confirmation fee application.

 10/19/2021   NPL     CP        Prepare service list for PSZJ post confirmation final    0.30       250.00           $75.00
                                fee application.

 10/19/2021   NPL     CP        Email communications with M. Hauser regarding            0.10       250.00           $25.00
                                PSZJ post confirmation final fee application.

 10/19/2021   NPL     CP        Email communications with R. Pachulski regarding         0.10       250.00           $25.00
                                PSZJ post confirmation final fee application.

 10/19/2021   NPL     CP        Attention to dates and deadlines related to PSZJ post    0.10       250.00           $25.00
                                confirmation final fee application.

 10/19/2021   NPL     CP        Finalize and compile exhibits to PSZJ post               1.50       250.00          $375.00
                                confirmation final fee application.

 10/19/2021   NPL     CP        Final edits to PSZJ post confirmation final fee          0.30       250.00           $75.00
                                application.

 11/04/2021   NPL     CP        Email communications with J. Bral regarding              0.30       250.00           $75.00
                                declaration in support of PSZJ post confirmation fee
                                application; revise and finalize same.

 11/04/2021   NPL     CP        Email communications with L. Gautheir regarding          0.20       250.00           $50.00
                                declaration of J. Bral in support of PSZJ post
                                confirmation fee application.

 11/08/2021   NPL     CP        Draft emails to R. Pachulski regarding order             0.20       250.00           $50.00
                                granting PSZJ fees pursuant to post confirmation fee
                                application.

 11/08/2021   NPL     CP        Review tentative ruling regarding post confirmation      0.20       250.00           $50.00
                                fee applications of all estate professionals.
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10601 - 00001                                                                                   November 17, 2021


                                                                                       Hours           Rate         Amount

 11/08/2021   NPL     CP        Email communications with L. Gauthier regarding         0.20        250.00           $50.00
                                order granting fees for estate professionals.

 11/10/2021   NPL     CP        Draft email to R. Pachulski regarding order granting    0.10        250.00           $25.00
                                PSZJ fees pursuant to post confirmation fee
                                application.

                                                                                        43.30                  $19,748.00

  TOTAL SERVICES FOR THIS MATTER:                                                                             $19,748.00
           Case 8:17-bk-10706-ES                   Doc 1114 Filed 11/19/21 Entered 11/19/21 09:49:44                                       Desc
                                                    PROOF
                                                    Main  OF SERVICE OF
                                                         Document       DOCUMENT
                                                                     Page 15 of 16
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

Pachulski Stang Ziehl & Jones LLP, 10100 Santa Monica Blvd., 13th Floor, Los Angeles, CA 90067

 A true and correct copy of the document entitled:

    SUPPLEMENT TO THE POST CONFIRMATION FINAL APPLICATION FOR COMPENSATION AND
    REIMBURSEMENT OF EXPENSES OF PACHULSKI STANG ZIEHL & JONES LLP AS SPECIAL
    REORGANIZATION COUNSEL FOR THE DEBTOR FOR THE PERIOD AUGUST 1, 2019 THROUGH
    JANUARY 21, 2021; DECLARATION OF RICHARD A. PACHULSKI

 will be served as set forth below:


 1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General Orders
 and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date) 11/19/2021, I
 checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the following persons are on
 the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:



                                                                                          Service information continued on attached page



 2. SERVED BY UNITED STATES MAIL: On (date), 11/19/2021 I served the following persons and/or entities at the last known
 addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in
 the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration
 that mailing to the judge will be completed no later than 24 hours after the document is filed.




                                                                                          Service information continued on attached page



 3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method for each
 person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) ___________, I served the following persons
 and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such service method), by
 facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that personal delivery on, or
 overnight mail to, the judge will be completed no later than 24 hours after the document is filed.




                                                                                          Service information continued on attached page




 I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 11/19/2021                              Nancy Lockwood                                           /s/ Nancy Lockwood
  Date                                   Printed Name                                               Signature
              This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
 June 2012                                                                                          F 9013-3.1.PROOF.SERVICE
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          Case 8:17-bk-10706-ES                   Doc 1114 Filed 11/19/21 Entered 11/19/21 09:49:44                                       Desc
                                                   Main Document    Page 16 of 16
1.       TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

     •   Shane M Biornstad SBiornstad@shulmanbastian.com, agarcia@shulmanbastian.com
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     •   Thomas H Casey kdriggers@tomcaseylaw.com, msilva@tomcaseylaw.com
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     •   Edward G Schloss egs2@ix.netcom.com
     •   Valerie Smith claims@recoverycorp.com
     •   Daniel B Spitzer dspitzer@spitzeresq.com
     •   United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov
     •   Zann R Welch ecfnotices@ascensioncapitalgroup.com
     •   Alan Steven Wolf wdk@wolffirm.com
     •   Dean A Ziehl dziehl@pszjlaw.com, dziehl@pszjlaw.com

2.       SERVED BY UNITES STATES MAIL

John Jean Bral
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Irvine, CA 92604




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